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 1               Examples of Invalid Diagnosis Submitted But Not Deleted By United
 2
 3              Examples of invalid diagnoses about which United knew but that it failed to delete
 4     based on its Chart Review Program for the 2011 through the 2014 payment years include
 5     the following:1
 6     1.       United reviewed medical records relating to Beneficiary A as part of its Chart
 7     Review Program for payment year 2011. The prior year (date of service year 2010), one
 8     of Beneficiary A’s providers reported diagnoses to United that mapped to HCC 7 and
 9     RxHCC 11 for Metastatic Cancer and Acute Leukemia, and to HCC 96 and RxHCC 97
10     for Ischemic or Unspecified Stroke. However, the results of United’s review of this
11     provider’s medical records for this beneficiary failed to validate these diagnoses, and no
12     other provider reported these diagnoses (or any other diagnosis mapping to these HCCs)
13     for this beneficiary for this year. United submitted these invalid diagnoses to the
14     Medicare Program for risk adjustment payments, but knowingly and improperly failed to
15     delete them. The beneficiary’s Part C risk score was 3.239 for payment year 2011, but
16     deleting the invalid diagnoses would have decreased it to .92, a difference of 2.319.
17     Under Part C of the Medicare Program, United was paid $24,380 based on its
18     submission of these invalid diagnoses. Accordingly, Medicare has been damaged by at
19     least $24,380 (and possibly more under Part D) because of United’s failure to delete the
20     invalid diagnoses or otherwise return the overpayments.
21     2.       United reviewed medical records relating to Beneficiary B as part of its Chart
22     Review Program for payment year 2011. The prior year (date of service year 2010), one
23     of Beneficiary B’s providers reported a diagnosis to United that mapped to HCC 45 for
24     Disorders of Immunity. However, the results of United’s review of the provider’s
25     medical records failed to validate this diagnosis, and no other provider reported this
26     diagnosis (or any other diagnosis mapping to this HCC) for this beneficiary for this year.
27
       1
           Information identifying the beneficiaries will be separately provided to Defendants.
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 1     United submitted this invalid diagnosis to the Medicare Advantage Program for risk
 2     adjustment payments, and knowingly and improperly failed to delete it. The
 3     beneficiary’s Part C risk score was originally 3.328, but deleting the invalid diagnosis
 4     would have decreased it to 2.495, a difference of .833. Under Part C of the Medicare
 5     Program, United was paid $8,267 based on its submission of this invalid diagnosis.
 6     Accordingly, Medicare has been damaged by that amount because of United’s failure to
 7     delete the invalid diagnosis or otherwise return the overpayments.
 8     3.    United reviewed the medical records relating to Beneficiary C as part of its Chart
 9     Review Program for payment year 2011. The prior year (date of service year 2010), one
10     of Beneficiary C’s providers reported diagnoses to United that mapped to HCC 45 for
11     Disorders of Immunity, HCC 44 for Severe Hematological Disorders, and RxHCC 50 for
12     Aplastic Anemia and Other Significant Blood Disorders. However, the results of
13     United’s review of this provider’s medical records failed to validate these diagnoses, and
14     no other provider reported these diagnoses (or any other diagnoses that mapped to these
15     HCCs) for this beneficiary for this year. United submitted these invalid diagnoses to the
16     Medicare Advantage Program for risk adjustment payments, and knowingly and
17     improperly failed to delete them. The beneficiary’s Part C risk score was originally
18     4.569, but deleting the invalid diagnoses would have decreased it to 1.863, a difference
19     of 2.706. Under Part C of the Medicare Program, United was paid $25,202 based on its
20     submission of these invalid diagnoses. Accordingly, Medicare has been damaged by at
21     least that amount (and possibly more under Part D) because of United’s failure to delete
22     the invalid diagnoses or otherwise return the overpayments.
23     4.    United reviewed the medical records relating to Beneficiary D as part of its Chart
24     Review Program for payment year 2011. The prior year (date of service year 2010), one
25     of Beneficiary D’s providers reported diagnoses to United that mapped to HCC 45 for
26     Disorders of Immunity, HCC 83 for Angina Pectoris/Old Myocardial Infarction, and
27     HCC 105 for Vascular Disease. However, the results of United’s review of this
28     provider’s medical records failed to validate these diagnoses, and no other qualified
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 1     provider reported these diagnoses (or any other diagnosis that mapped to these HCCs)
 2     for this beneficiary for this year. United submitted these invalid diagnoses to the
 3     Medicare Advantage Program for risk adjustment payments, and knowingly and
 4     improperly failed to delete them. The beneficiary’s Part C risk score was originally
 5     4.719, but deleting the invalid diagnoses would have decreased it to 3.375, a difference
 6     of 1.344. Under Part C of the Medicare Program, United was paid $14,460 based on its
 7     submission of these invalid diagnoses. Accordingly, Medicare has been damaged by that
 8     amount because of United’s failure to delete the invalid diagnoses or otherwise return the
 9     overpayments.
10     5.    United reviewed the medical records relating to Beneficiary E as part of its Chart
11     Review Program for payment year 2011. The prior year (date of service year 2010), one
12     of Beneficiary E’s providers reported diagnoses to United that mapped to HCC 44 for
13     Severe Hematological Disorders, RxHCC 50 for Aplastic Anemia and Other Significant
14     Blood Disorders, and HCC 45 for Disorders of Immunity. However, the results of
15     United’s review of this provider’s medical records failed to validate these diagnoses, and
16     no other qualified provider reported these diagnoses (or any other diagnosis that mapped
17     to these HCCs) for this beneficiary for this year. United submitted these invalid
18     diagnoses to the Medicare Advantage Program for risk adjustment payments, and
19     knowingly and improperly failed to delete them. The beneficiary’s Part C risk score was
20     originally 3.451, but deleting the invalid diagnoses would have decreased it to .746, a
21     difference of 2.705. Under Part C of the Medicare Program, United was paid $25,279
22     based on its submission of these invalid diagnoses. Accordingly, Medicare has been
23     damaged by at least that amount (and possibly more under Part D) because of United’s
24     failure to delete the invalid diagnoses or otherwise return the overpayments.
25     6.    United reviewed the medical records relating to Beneficiary F as part of its Chart
26     Review Program for payment year 2011. The prior year (date of service year 2010), one
27     of Beneficiary F’s providers reported diagnoses to United that mapped to HCC 7 for
28     Metastatic Cancer and Acute Leukemia, HCC 15 for Diabetes with Renal or Peripheral
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 1     Circulatory Manifestation, and RxHCC 14 for Diabetes with Complications. However,
 2     the results of United’s review of this provider’s medical records failed to validate these
 3     diagnoses, and no other qualified provider reported these diagnoses (or any other
 4     diagnosis that mapped to these HCCs) for this beneficiary for this year. United
 5     submitted these invalid diagnoses to the Medicare Advantage Program for risk
 6     adjustment payments, and knowingly and improperly failed to delete them. The
 7     beneficiary’s Part C risk score was originally 2.841, but deleting the invalid diagnoses
 8     would have decreased it to .447, a difference of 2.394. Under Part C of the Medicare
 9     Program, United was paid $25,607 based on its submission of these invalid diagnoses.
10     Accordingly, Medicare has been damaged by at least that amount (and possibly more
11     under Part D) because of United’s failure to delete the invalid diagnoses or otherwise
12     return the overpayments.
13     7.    United reviewed the medical records relating to Beneficiary G as part of its Chart
14     Review Program for payment year 2011. The prior year (date of service year 2010), one
15     of Beneficiary G’s providers reported diagnoses to United that mapped to HCC 7 for
16     Metastatic Cancer and Acute Leukemia, HCC 80 for Congestive Heart Failure, and
17     RxHCC 86 for Pulmonary Hypertension and Other Pulmonary Heart Disease. However,
18     the results of United’s review of this provider’s medical records failed to validate these
19     diagnoses, and no other qualified provider reported these diagnoses (or any other
20     diagnosis that mapped to these HCCs) for this beneficiary for this year. United
21     submitted these invalid diagnoses to the Medicare Advantage Program for risk
22     adjustment payments and knowingly and improperly failed to delete them. The
23     beneficiary’s Part C risk score was originally 5.065, but deleting the invalid diagnoses
24     would have decreased it to 1.977, a difference of 3.088. Under Part C of the Medicare
25     Program, United was paid $27,804 based on its submission of these invalid diagnoses.
26     Accordingly, Medicare has been damaged by at least that amount (and possibly more
27     under Part D) because of United’s failure to delete the invalid diagnoses or otherwise
28     return the overpayments.
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 1     8.    United reviewed the medical records relating to Beneficiary H as part of its Chart
 2     Review Program for payment year 2011. The prior year (date of service year 2010), one
 3     of Beneficiary H’s providers reported a diagnosis to United that mapped to HCC 44 and
 4     RxHCC 50 for Severe Hematological Disorders. However, the results of United’s
 5     review of this provider’s medical records failed to validate this diagnosis, and no other
 6     qualified provider reported this diagnosis (or any other diagnosis that mapped to this
 7     HCC) for this beneficiary for this year. The beneficiary’s Part C risk score was
 8     originally 3.901, but deleting the invalid diagnosis would have decreased it to 2.974, a
 9     difference of .927. United submitted this invalid diagnosis to the Medicare Advantage
10     Program for risk adjustment payments, and knowingly and improperly failed to delete it.
11     Under Part C of the Medicare Program, United was paid $9,582 based on United’s
12     submission of the invalid diagnosis mapping to the HCC. Accordingly, Medicare has
13     been damaged by at least that amount (and possibly more under Part D) because of
14     United’s failure to delete the invalid diagnosis or otherwise return the overpayments.
15     9.    United reviewed the medical records relating to Beneficiary I as part of its Chart
16     Review Program for payment year 2012. The prior year (date of service year 2011), one
17     of Beneficiary I’s providers reported diagnoses to United that mapped to HCC 15 and
18     RxHCC 14 for Diabetes with Renal or Peripheral Circulatory Manifestation, HCC 104
19     for Vascular Disease with Complications, HCC 105 and RxHCC 101 for Vascular
20     Disease, and HCC 131 and RxHCC 125 for Renal Failure. However, the results of
21     United’s review of this provider’s medical records did not support these diagnoses, and
22     no other qualified provider reported these diagnoses (or any other diagnoses mapping to
23     these HCCs) for this beneficiary for this year. United submitted these invalid diagnoses
24     to the Medicare Advantage Program for risk adjustment payments, and knowingly and
25     improperly failed to delete them. The beneficiary’s Part C risk score was originally
26     3.174, but deleting the invalid diagnoses would have decreased it to 1.844, a difference
27     of 1.33. Under Part C of the Medicare Program, United was paid $11,395.92 based on
28     United’s submission of the invalid diagnoses. Accordingly, Medicare has been damaged
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 1     by at least that amount (and possibly more under Part D) because of United’s failure to
 2     delete the invalid diagnoses or otherwise return the overpayments.
 3     10.   United reviewed the medical records relating to Beneficiary J as part of its Chart
 4     Review Program for payment year 2012. The prior year (date of service year 2011), one
 5     of Beneficiary J’s providers reported diagnoses to United that mapped to HCC 37 and
 6     RxHCC 38 for Bone/Joint/Muscle Infections/Necrosis, HCC 27 and RxHCC 25 for
 7     Chronic Hepatitis, HCC 45 for Disorders of Immunity, HCC 108 and RxHCC 104 for
 8     Chronic Obstructive Pulmonary Disease, and RxHCC 88 for Hypertension. However,
 9     the results of United’s review of this provider’s medical records did not support these
10     diagnoses, and no other qualified provider reported these diagnoses (or any other
11     diagnoses mapping to these HCCs) for this beneficiary for this year. United submitted
12     these invalid diagnoses to the Medicare Advantage Program for risk adjustment
13     payments, and knowingly and improperly failed to delete them. The beneficiary’s Part C
14     risk score was originally 2.544, but deleting the invalid diagnoses would have decreased
15     it to 1.345, a difference of 1.199. Under Part C of the Medicare Program, United was
16     paid $13,439 based on United’s submission of the invalid diagnoses. Accordingly,
17     Medicare has been damaged by at least that amount (and possibly more under Part D)
18     because of United’s failure to delete the invalid diagnoses or otherwise return the
19     overpayments
20     11.   United reviewed the medical records relating to Beneficiary K as part of its Chart
21     Review Program for payment year 2012. The prior year (date of service year 2011), one
22     of Beneficiary K’s providers reported a diagnosis to United that mapped to HCC 7 for
23     Metastatic Cancer and Acute Leukemia. However, the results of United’s review of this
24     provider’s medical records did not support this diagnosis and no other qualified provider
25     reported this diagnosis (or any other diagnosis mapping to this HCC) for this beneficiary
26     for this year. United submitted this invalid diagnosis to the Medicare Advantage
27     Program for risk adjustment payments, and knowingly and improperly failed to delete it.
28     The beneficiary’s Part C risk score was originally 2.83, but deleting the invalid
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 1     diagnoses would have decreased it to .792, a difference of 2.038. Under Part C of the
 2     Medicare Program, United was paid $22,843.44 based on United’s submission of the
 3     invalid diagnosis. Accordingly, Medicare has been damaged by that amount because of
 4     United’s failure to delete the invalid diagnosis or otherwise return the overpayments.
 5     12.   United reviewed the medical records relating to Beneficiary L as part of its Chart
 6     Review Program for payment year 2012. The prior year (date of service year 2011), one
 7     of Beneficiary L’s providers reported a diagnosis to United that mapped to HCC 157 and
 8     RxHCC 45 for Vertebral Fractures w/o Spinal Cord Injury. However, the results of
 9     United’s review of this provider’s medical records did not support this diagnosis (or any
10     other diagnosis mapping to this HCC) for this beneficiary for this year. United
11     submitted this invalid diagnosis to the Medicare Advantage Program for risk adjustment
12     payments, and knowingly and improperly failed to delete it. The beneficiary’s Part C
13     risk score was originally 2.541, but deleting the invalid diagnosis would have decreased
14     it to 2.145, a difference of .396. Under Part C of the Medicare Program, United was paid
15     $3,439 based on United’s submission of the invalid diagnosis. Accordingly, Medicare
16     has been damaged by that amount because of United’s failure to delete the invalid
17     diagnosis or otherwise return the overpayments.
18     13.   United reviewed the medical records relating to Beneficiary M as part of its Chart
19     Review Program for payment year 2012. The prior year (date of service year 2011), one
20     of Beneficiary M’s providers reported a diagnosis to United that mapped to HCC 44 and
21     RxHCC 50 for Severe Hematological Disorders. However, the results of United’s
22     review of this provider’s medical records did not support this diagnosis (or any other
23     diagnosis mapping to this HCC) for this beneficiary for this year. United submitted this
24     invalid diagnosis to the Medicare Advantage Program for risk adjustment payments, and
25     knowingly and improperly failed to delete it. The beneficiary’s Part C risk score was
26     originally 2.059, but deleting the invalid diagnosis would have decreased it to .223, a
27     difference of 1.836. Under Part C of the Medicare Program, United was paid $16,697
28     based on United’s submission of the invalid diagnosis. Accordingly, Medicare has been
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 1     damaged by that amount because of United’s failure to delete the invalid diagnosis or
 2     otherwise return the overpayments.
 3     14.   United reviewed the medical records relating to Beneficiary N as part of its Chart
 4     Review Program for payment year 2012. The prior year (date of service year 2011), one
 5     of Beneficiary N’s providers reported a diagnosis to United that mapped to HCC 83 for
 6     Angina Pectoris/Old Myocardial Infarction. However, the results of United’s review of
 7     this provider’s medical records did not support this diagnosis (or any other diagnosis
 8     mapping to this HCC) for this beneficiary for this year. United submitted this invalid
 9     diagnosis to the Medicare Advantage Program for risk adjustment payments, and
10     knowingly and improperly failed to delete it. The beneficiary’s Part C risk score was
11     originally 2.16, but deleting the invalid diagnosis would have decreased it to 1.941, a
12     difference of .219. Under Part C of the Medicare Program, United was paid $1,866
13     based on United’s submission of the invalid diagnosis. Accordingly, Medicare has been
14     damaged by that amount because of United’s failure to delete the invalid diagnosis or
15     otherwise return the overpayments.
16     15.   United reviewed the medical records relating to Beneficiary O as part of its Chart
17     Review Program for payment year 2013. The prior year (date of service year 2012), one
18     of Beneficiary O’s providers reported diagnoses to United that mapped to HCC 96 and
19     RxHCC 97 for Ischemic or Unspecified Stroke and HCC 107 and RxHCC 103 for Cystic
20     Fibrosis. However, the results of United’s review of this provider’s medical records did
21     not support these diagnoses, and no other qualified provider reported these diagnoses (or
22     any other diagnoses that mapped to these HCCs) for this beneficiary for this year.
23     United submitted these invalid diagnoses to the Medicare Advantage Program for risk
24     adjustment payments, and knowingly and improperly failed to delete them. The
25     beneficiary’s Part C risk score was originally 4.912, but deleting the invalid diagnoses
26     would have decreased it to 1.758, a difference of 3.154. Under Part C of the Medicare
27     Program, United was paid $27,200 based on United’s submission of the invalid
28     diagnoses. Accordingly, Medicare has been damaged by at least that amount (and
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 1   possibly more under Part D) because of United’s failure to delete the invalid diagnoses
 2   or otherwise return the overpayments.
 3   16.   United reviewed the medical records relating to Beneficiary P as part of its Chart
 4   Review Program for payment year 2013. The prior year (date of service year 2012), one
 5   of Beneficiary P’s providers reported a diagnosis to United that mapped to HCC 44 and
 6   RxHCC 50 for Severe Hematological Disorders. However, the results of United’s
 7   review of this provider’s medical records did not support this diagnosis, and no other
 8   qualified provider reported this diagnosis (or any other diagnosis that mapped to this
 9   HCC) for this beneficiary for this year. United submitted this invalid diagnosis to the
10   Medicare Advantage Program for risk adjustment payments, and knowingly and
11   improperly failed to delete it. The beneficiary’s Part C risk score was originally 2.762,
12   but deleting the invalid diagnosis would have decreased it to .442, a difference of 2.32.
13   Under Part C of the Medicare Program, United was paid $18,030 based on United’s
14   submission of the invalid diagnosis. Accordingly, Medicare has been damaged by at
15   least that amount (and possibly more under Part D) because of United’s failure to delete
16   the invalid diagnosis or otherwise return the overpayments.
17   17.   United reviewed the medical records relating to Beneficiary Q as part of its Chart
18   Review Program for payment year 2013. The prior year (date of service year 2012), one
19   of Beneficiary Q’s providers reported a diagnosis to United that mapped to HCC 44 and
20   RxHCC 50 for Severe Hematological Disorders. However, the results of United’s
21   review of this provider’s medical records did not support this diagnosis, and no other
22   qualified provider reported this diagnosis (or any other diagnosis that mapped to this
23   HCC) for this beneficiary for this year. United submitted this invalid diagnosis to the
24   Medicare Advantage Program for risk adjustment payments, and knowingly and
25   improperly failed to delete it. The beneficiary’s Part C risk score was originally 2.594,
26   but deleting the invalid diagnosis would have decreased it to .274, a difference of 2.32.
27   Under Part C of the Medicare Program, United was paid $22,244 based on United’s
28   submission of the invalid diagnosis. Accordingly, Medicare has been damaged by at
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 1   least that amount (and possibly more under Part D) because of United’s failure to delete
 2   the invalid diagnosis or otherwise return the overpayments.
 3   18.   United reviewed the medical records relating to Beneficiary R as part of its Chart
 4   Review Program for payment year 2013. The prior year (date of service year 2012), one
 5   of Beneficiary R’s providers reported diagnoses to United that mapped to HCC 7 and
 6   RxHCC 11 for Metastatic Cancer and Acute Leukemia and HCC 10 for Breast, Prostate,
 7   Colorectal, and Other Cancers and Tumors. However, the results of United’s review of
 8   this provider’s medical records did not support these diagnoses, and no other qualified
 9   provider reported these diagnoses (or any other diagnoses that mapped to these HCCs)
10   for this beneficiary for this year. United submitted these invalid diagnoses to the
11   Medicare Advantage Program for risk adjustment payments, and knowingly and
12   improperly failed to delete them. The beneficiary’s Part C risk score was originally
13   2.733, but deleting the invalid diagnoses would have decreased it to .689, a difference of
14   2.044. Under Part C of the Medicare Program, United was paid $17,349 based on
15   United’s submission of the invalid diagnoses. Accordingly, Medicare has been damaged
16   by at least that amount (and possibly more under Part D) because of United’s failure to
17   delete the invalid diagnoses or otherwise return the overpayments.
18   19.   United reviewed the medical records relating to Beneficiary S as part of its Chart
19   Review Program for payment year 2013. The prior year (date of service year 2012), one
20   of Beneficiary S’s providers reported diagnoses to United that mapped to HCC 7 and
21   RxHCC 11 for Metastatic Cancer and Acute Leukemia and HCC 10 and RxHCC 10 for
22   Breast, Prostate, Colorectal, and Other Cancers and Tumors. However, the results of
23   United’s review of this provider’s medical records did not support these diagnoses, and
24   no other qualified provider reported these diagnoses (or any other diagnosis that mapped
25   to these HCCs) for this beneficiary for this year. United submitted these invalid
26   diagnoses to the Medicare Advantage Program for risk adjustment payments, and
27   knowingly and improperly failed to delete them. The beneficiary’s Part C risk score was
28   originally 2.563, but deleting the invalid diagnoses would have decreased it to .52, a
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 1   difference of 2.043. Under Part C of the Medicare Program, United was paid $18,961
 2   based on United’s submission of the invalid diagnoses. Accordingly, Medicare has been
 3   damaged by at least that amount (and possibly more under Part D) because of United’s
 4   failure to delete the invalid diagnoses or otherwise return the overpayments.
 5   20.   United reviewed the medical records relating to Beneficiary T as part of its Chart
 6   Review Program for payment year 2013. The prior year (date of service year 2012), one
 7   of Beneficiary T’s providers reported diagnoses to United that mapped to HCC 7 and
 8   RxHCC 11 for Metastatic Cancer and Acute Leukemia, HCC 80 and RxHCC 87 for
 9   Congestive Heart Failure, and RxHCC 20 for Thyroid Disorders. However, the results
10   of United’s review of this provider’s medical records did not support these diagnoses,
11   and no other qualified provider reported these diagnoses (or any other diagnosis that
12   mapped to these HCCs) for this beneficiary for this year. The beneficiary’s Part C risk
13   score was originally 3.217, but deleting the invalid diagnoses would have decreased it to
14   .707, a difference of 2.51. United had submitted these invalid diagnoses to the Medicare
15   Advantage Program for risk adjustment payments, and knowingly and improperly failed
16   to delete them. Under Part C of the Medicare Program, United was paid $22,760 based
17   on its submission of the invalid diagnoses. Accordingly, Medicare has been damaged by
18   at least that amount (and possibly more under Part D) because of United’s failure to
19   delete the invalid diagnoses or otherwise return the overpayments.
20   21.   United reviewed the medical records relating to Beneficiary U as part of its Chart
21   Review Program for payment year 2013. The prior year (date of service year 2012), one
22   of Beneficiary U’s providers reported a diagnosis to United that mapped to HCC 7 and
23   RxHCC 11 for Metastatic Cancer and Acute Leukemia. However, the results of United’s
24   review of this provider’s medical records did not support this diagnosis, and no other
25   qualified provider reported this diagnosis (or any other diagnosis that mapped to this
26   HCC) for this beneficiary for this year. United submitted this invalid diagnosis to the
27   Medicare Advantage Program for risk adjustment payments, and knowingly and
28   improperly failed to delete it. The beneficiary’s Part C risk score was originally 3.034,
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 1   but deleting the invalid diagnosis would have decreased it to .99, a difference of 2.044.
 2   Under Part C of the Medicare Program, United was paid $19,008 based on United’s
 3   submission of the invalid diagnosis. Accordingly, Medicare has been damaged by at
 4   least that amount (and possibly more under Part D) because of United’s failure to delete
 5   the invalid diagnosis or otherwise return the overpayments.
 6   22.   United reviewed medical records relating to Beneficiary V as part of its Chart
 7   Review Program for payment year 2014. The prior year (date of service year 2013), one
 8   of beneficiary V’s providers reported a diagnosis to United that mapped to HCC 7 (V12)
 9   and HCC 8 (V22) for Metastatic Cancer and Acute Leukemia. However, the results of
10   United’s review of this provider’s medical records failed to validate the diagnosis, and
11   no other qualified provider reported this diagnosis (or any other diagnosis that mapped to
12   these HCCs) for this beneficiary for this year. United submitted this invalid diagnosis to
13   the Medicare Advantage Program for risk adjustment payments, and knowingly and
14   improperly failed to delete it. The beneficiary’s Part C risk score was originally 2.63,
15   but deleting the invalid diagnosis would have decreased it to .408, a difference of 2.222.
16   Under Part C of the Medicare Program, United was paid $22,328 based on its
17   submission of this invalid diagnosis mapping to these HCCs. Accordingly, Medicare has
18   been damaged by that amount because of United’s failure to delete the invalid diagnosis
19   or otherwise return the overpayments.
20   23.   United reviewed the medical records relating to Beneficiary W as part of its Chart
21   Review Program for payment year 2014. The prior year (date of service year 2013), one
22   of Beneficiary W’s providers reported a diagnosis to United that mapped to HCC 7
23   (V12) and HCC 8 (V22) for Metastatic Cancer and Acute Leukemia. However, the
24   results of United’s review of this provider’s medical records failed to validate this
25   diagnosis and no other qualified provider reported this diagnosis (or any other diagnosis
26   mapping to these HCCs) for this beneficiary for this year. United submitted this invalid
27   diagnosis to the Medicare Advantage Program for risk adjustment payments, and
28   knowing and improperly failed to delete it. The beneficiary’s Part C risk score was
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 1   originally 2.816, but deleting the invalid diagnosis would have decreased it to .594, a
 2   difference of 2.222. Under Part C of the Medicare Program, United was paid $23,166
 3   based on its submission of this invalid diagnosis mapping to these HCCs. Accordingly,
 4   Medicare has been damaged by that amount because of United’s failure to delete the
 5   invalid diagnosis or otherwise return the overpayments.
 6   24.   United reviewed the medical records relating to Beneficiary X as part of its Chart
 7   Review Program for payment year 2014. The prior year (date of service year 2013), one
 8   of Beneficiary X’s providers reported a diagnosis to United that mapped to HCC 7 (V12)
 9   and HCC 8 (V22) for Metastatic Cancer and Acute Leukemia. However, the results of
10   United’s review of this provider’s medical records failed to validate this diagnosis, and
11   no other qualified provider reported this diagnosis (or any other diagnosis that mapped to
12   these HCCs) for this beneficiary for this year. United submitted this invalid diagnosis to
13   the Medicare Advantage Program for risk adjustment payments, and knowingly and
14   improperly failed to delete it. The beneficiary’s Part C risk score was originally 2.773,
15   but deleting the invalid diagnosis would have decreased it to .7, a difference of 2.073.
16   Under Part C of the Medicare Program, United was paid $20,523 based on its
17   submission of this invalid diagnosis mapping to these HCCs. Accordingly, Medicare has
18   been damaged by that amount because of United’s failure to delete the invalid diagnosis
19   or otherwise return the overpayments.
20   25.   United reviewed the medical records relating to Beneficiary Y as part of its Chart
21   Review Program for payment year 2014. The prior year (date of service year 2013), one
22   of Beneficiary Y’s providers reported a diagnosis to United that mapped to HCC 7 (V12)
23   and HCC 8 (V22) for Metastatic Cancer and Acute Leukemia and a diagnosis that
24   mapped to HCC 104 (V12) and HCC 107 (V22) for Vascular Disease with
25   Complications. However, the results of United’s review of this provider’s medical
26   records failed to validate these diagnoses, and no other qualified provider reported these
27   diagnoses (or any other diagnoses that mapped to these HCCs) for this beneficiary for
28   this year. United submitted these invalid diagnoses to the Medicare Advantage Program
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 1   for risk adjustment payments, and knowingly and improperly failed to delete them. The
 2   beneficiary’s Part C risk score was originally 3.289, but deleting the invalid diagnoses
 3   would have decreased it to .908, a difference of 2.381. Under Part C of the Medicare
 4   Program, United was paid $21,608 based on its submission of the invalid diagnoses
 5   mapping to these HCCs. Accordingly, Medicare has been damaged by that amount
 6   because of United’s failure to delete the invalid diagnoses or otherwise return the
 7   overpayments.
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